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PROB 12A
(7/93)

                              United States District Court
                                            for
                                  District of New Jersey
                          Report on Offender Under Supervision
his
Name of Offender: Mohammed Kayed                                                    Cr.: 20CR00176-001
                                                                                     PACTS #: 3653603


Name of Sentencing Judicial Officer:      THE HONORABLE RONNIE L. WHITE
                                          UNITED STATES DISTRICT JUDGE (ED/MO)

Name of Assigned Judicial Officer:        THE HONORABLE ESTHER SALAS
                                          UNITED STATES DISTRICT JUDGE

Name of Presiding Judicial Officer:       THE HONORABLE BRIAN R. MARTINOTTI
                                          UNITED STATES DISTRICT JUDGE


Date of Original Sentence: 06/05/2018

Original Offense:   Count 1: Conspiracy to Defraud the United States, 18 U.S.C. § 371, Class D felony

Original Sentence: 30 months’ imprisonment, 36 months’ supervised release

Special Conditions: Restitution $81,000, Special Assessment, Educational Services, Financial Disclosure,
No New Debt/Credit, Search/Seizure, Drug Treatment, Substance Abuse Testing, Other Financial
Obligation

Type of Supervision: Supervised Release                       Date Supervision Commenced: 01/03/2020

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of Noncompliance

                      The offender has violated the mandatory supervision condition which states
  1
                      'You must not commit another federal, state, or local crime.'
                      On October 29, 2020, Mohammed Kayed was arrested at his residence by the
                      Clifton Police Department in New Jersey following an allegation of simple
                      assault. It was reported by a female, who stated she was an on-and-off again
                      girlfriend of Kayed’s, that they were in a taxi from Newark arguing and when
                      she tried to leave the taxi, he grabbed her in an attempt to prevent her from
                      leaving the vehicle. During this incident she sustained a minor cut on her leg.
                      These charges are pending in Clifton Municipal Court at this time. A hearing
                      is scheduled for November 25, 2020.
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                                                                                         Mohammed Kayed


U.S. Probation Officer Action:
The undersigned reviewed the arrest report, attempted to contact the arresting officer several times, and
discussed this incident with Kayed and his mother. He was strongly counselled to avoid all people and
places which he knows may be a negative influence on him, even when individuals are not felons. As it
appears the allegations against Kayed will likely not be substantiated, and Kayed is pending sentencing for
a violation of supervised release before Your Honor, we recommend that no further action be taken at this
time.

                                                                 Respectfully submitted,

                                                                   By: Rebekah Dawson
                                                                        U.S. Probation Officer
                                                                   Date: 11/09/2020

Please check a box below to indicate the Court’s direction regarding action to be taken in this case:

X   No Formal Court Action to be Taken at This Time (as recommended by the Probation Office)
    Submit a Request for Modifying the Conditions or Term of Supervision
    Submit a Request for Warrant or Summons
    Other



                                                                 Signature of Judicial Officer


                                                        November 9, 2020
                                                                             Date
